 Fill in this information to identify your case and this filing:

  Debtor 1                          Johnathon                    Page                       Flattum
                                   First Name                   Middle Name                Last Name

  Debtor 2
  (Spouse, if filing)              First Name                   Middle Name                Last Name

  United States Bankruptcy Court for the:                                       Western District of Washington
                                                                                                                                                                                   ❑ Check if this is an
  Case number                                   18-43493                                                                                                                               amended filing


Official Form 106A/B
Schedule A/B: Property                                                                                                                                                                                           12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you think it
fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
      ❑ No. Go to Part 2.
      ✔ Yes. Where is the property?
      ❑
      1.1     6619 S Junette St.                                              What is the property? Check all that apply.                                  Do not deduct secured claims or exemptions. Put the
              Street address, if available, or other
              description
                                                                             ✔ Single-family home
                                                                             ❑                                                                             amount of any secured claims on Schedule D:
                                                                             ❑ Duplex or multi-unit building                                               Creditors Who Have Claims Secured by Property.
                                                                             ❑ Condominium or cooperative                                                Current value of the            Current value of the
                                                                             ❑ Manufactured or mobile home                                               entire property?                portion you own?
               Tacoma, WA 98409                                              ❑ Land                                                                                  $260,000.00                    $260,000.00
              City                               State        ZIP Code       ❑ Investment property
                                                                             ❑ Timeshare                                                                 Describe the nature of your ownership interest (such
                                                                                                                                                         as fee simple, tenancy by the entireties, or a life
                                                                             ❑ Other                                                                     estate), if known.
              County
                                                                              Who has an interest in the property? Check one.
                                                                             ✔ Debtor 1 only
                                                                                                                                                           Fee Simple
                                                                             ❑
                                                                             ❑ Debtor 2 only
                                                                             ❑ Debtor 1 and Debtor 2 only                                                 ❑ Check if this is community property
                                                                             ❑ At least one of the debtors and another
                                                                                                                                                              (see instructions)

                                                                             Source of Value:
                                                                             zillow
 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
    you have attached for Part 1. Write that number here.........................................................................................................                  ➜           $260,000.00




Official Form 106A/B                                                                                    Schedule A/B: Property                                                                          page 1

                       Case 18-43493-BDL                                 Doc 12              Filed 11/02/18                       Ent. 11/02/18 20:13:30                            Pg. 1 of 52
 Debtor 1                  Johnathon                     Page                             Flattum                                                             Case number (if known) 18-43493
                           First Name                    Middle Name                       Last Name




 Part 2: Describe Your Vehicles



 Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
 you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

 3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
      ❑ No
      ✔ Yes
      ❑
      3.1 Make:                                   Dodge                     Who has an interest in the property? Check one.                                 Do not deduct secured claims or exemptions. Put the
                                                  Caravan
                                                                            ✔ Debtor 1 only
                                                                            ❑                                                                               amount of any secured claims on Schedule D:
            Model:
                                                                            ❑ Debtor 2 only                                                                 Creditors Who Have Claims Secured by Property.
                                                  2000                      ❑ Debtor 1 and Debtor 2 only                                                  Current value of the        Current value of the
                                                                            ❑ At least one of the debtors and another
            Year:
                                                  170550                                                                                                  entire property?            portion you own?
            Approximate mileage:                                                                                                                                        $1,500.00                  $1,500.00
            Other information:                                              ❑Check if this is community property (see
                                                                                instructions)




 4.   Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
      Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
      ✔ No
      ❑
      ❑ Yes
 5.   Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
      you have attached for Part 2. Write that number here.........................................................................................................                 ➜              $1,500.00




 Part 3: Describe Your Personal and Household Items

  Do you own or have any legal or equitable interest in any of the following items?                                                                                                   Current value of the
                                                                                                                                                                                      portion you own?
                                                                                                                                                                                      Do not deduct secured
                                                                                                                                                                                      claims or exemptions.

 6. Household goods and furnishings
      Examples:       Major appliances, furniture, linens, china, kitchenware

      ❑ No
      ✔ Yes. Describe........
      ❑
                                               See Attached.
                                                                                                                                                                                                     $2,300.00

 7. Electronics
      Examples:       Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections;
                      electronic devices including cell phones, cameras, media players, games

      ❑ No
      ✔ Yes. Describe........
      ❑
                                               TV, Cell Phone, Amazon Fire Stick (tv device)                                                                                                          $600.00


 8. Collectibles of value
      Examples:       Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                      stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
      ✔ No
      ❑
      ❑ Yes. Describe........




Official Form 106A/B                                                                                    Schedule A/B: Property                                                                     page 2

                      Case 18-43493-BDL                                 Doc 12               Filed 11/02/18                       Ent. 11/02/18 20:13:30                         Pg. 2 of 52
 Debtor 1                     Johnathon                         Page                                 Flattum                                                                     Case number (if known) 18-43493
                              First Name                        Middle Name                           Last Name



 9. Equipment for sports and hobbies
       Examples:         Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks;
                         carpentry tools; musical instruments

       ❑ No
       ✔ Yes. Describe........
       ❑
                                                    Ping Pong Table, Weight Bench, Weights                                                                                                                             $150.00



 10.    Firearms
        Examples:          Pistols, rifles, shotguns, ammunition, and related equipment
        ✔ No
        ❑
        ❑ Yes. Describe........

 11.    Clothes
        Examples:          Everyday clothes, furs, leather coats, designer wear, shoes, accessories

        ❑ No
        ✔ Yes. Describe........
        ❑
                                                    used men's clothing                                                                                                                                                $200.00



 12.    Jewelry
        Examples:          Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
        ✔ No
        ❑
        ❑ Yes. Describe........


 13.    Non-farm animals
        Examples:          Dogs, cats, birds, horses

        ❑ No
        ✔ Yes. Describe........
        ❑
                                                    Dog                                                                                                                                                                  $0.00



 14.    Any other personal and household items you did not already list, including any health aids you did not list

        ✔ No
        ❑
        ❑ Yes. Describe........

 15.    Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
        for Part 3. Write that number here........................................................................................................................................➜                                 $3,250.00




 Part 4: Describe Your Financial Assets

  Do you own or have any legal or equitable interest in any of the following?                                                                                                                           Current value of the
                                                                                                                                                                                                        portion you own?
                                                                                                                                                                                                        Do not deduct secured
                                                                                                                                                                                                        claims or exemptions.


 16.    Cash
        Examples:          Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
        ❑ No
        ✔ Yes........................................................................................................................................................ Cash..............
        ❑                                                                                                                                                                                                            $1,000.00




Official Form 106A/B                                                                                                 Schedule A/B: Property                                                                         page 3

                        Case 18-43493-BDL                                        Doc 12                 Filed 11/02/18                            Ent. 11/02/18 20:13:30                           Pg. 3 of 52
 Debtor 1                 Johnathon               Page                   Flattum                                           Case number (if known) 18-43493
                          First Name               Middle Name           Last Name



 17.   Deposits of money
       Examples:        Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other
                        similar institutions. If you have multiple accounts with the same institution, list each.

       ❑ No
       ✔ Yes..................
       ❑
                                                                         Institution name:



                                       17.1. Checking account:            Wells Fargo account no 0887                                                          $387.89


                                       17.2. Checking account:


                                       17.3. Savings account:             Wells Fargo account 7211                                                           $5,244.87


                                       17.4. Savings account:


                                       17.5. Certificates of deposit:


                                       17.6. Other financial account:


                                       17.7. Other financial account:


                                       17.8. Other financial account:


                                       17.9. Other financial account:


 18.   Bonds, mutual funds, or publicly traded stocks
       Examples:        Bond funds, investment accounts with brokerage firms, money market accounts
       ✔ No
       ❑
       ❑ Yes..................
 19.   Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
       an LLC, partnership, and joint venture

       ✔ No
       ❑
       ❑ Yes. Give specific
            information about
            them...................

 20.   Government and corporate bonds and other negotiable and non-negotiable instruments
       Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
       Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
       ✔ No
       ❑
       ❑ Yes. Give specific
            information about
            them...................

 21.   Retirement or pension accounts
       Examples:        Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
       ✔ No
       ❑
       ❑ Yes. List each account
            separately.




Official Form 106A/B                                                               Schedule A/B: Property                                                    page 4

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                          First Name              Middle Name               Last Name



 22.   Security deposits and prepayments
       Your share of all unused deposits you have made so that you may continue service or use from a company
       Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or
       others
       ✔ No
       ❑
       ❑ Yes.....................
 23.   Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

       ✔ No
       ❑
       ❑ Yes.....................
 24.   Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
       26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
       ✔ No
       ❑
       ❑ Yes.....................
                                       Institution name and description. Separately file the records of any interests. 11 U.S.C. § 521(c):

 25.   Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your
       benefit

       ✔ No
       ❑
       ❑ Yes. Give specific
            information about them....


 26.   Patents, copyrights, trademarks, trade secrets, and other intellectual property
       Examples:       Internet domain names, websites, proceeds from royalties and licensing agreements
       ✔ No
       ❑
       ❑ Yes. Give specific
            information about them....


 27.   Licenses, franchises, and other general intangibles
       Examples:       Building permits, exclusive licenses, cooperative association holdings, liquor licenses,
                       professional licenses
       ✔ No
       ❑
       ❑ Yes. Give specific
            information about them....


Money or property owed to you?                                                                                                                         Current value of the
                                                                                                                                                       portion you own?
                                                                                                                                                       Do not deduct secured
                                                                                                                                                       claims or exemptions.


 28.   Tax refunds owed to you

       ✔ No
       ❑
       ❑ Yes. Give specific information about                                                                                    Federal:
                   them, including whether you
                   already filed the returns and the                                                                             State:
                   tax years.......................
                                                                                                                                 Local:



 29.   Family support
       Examples:       Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement




Official Form 106A/B                                                                  Schedule A/B: Property                                                      page 5

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                           First Name                      Middle Name                       Last Name



       ✔ No
       ❑
       ❑ Yes. Give specific information..........                                                                                                                    Alimony:

                                                                                                                                                                     Maintenance:

                                                                                                                                                                     Support:

                                                                                                                                                                     Divorce settlement:

                                                                                                                                                                     Property settlement:


 30.   Other amounts someone owes you
       Examples:         Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social
                         Security benefits; unpaid loans you made to someone else
       ✔ No
       ❑
       ❑ Yes. Give specific information..........



 31.   Interests in insurance policies
       Examples:         Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
       ✔ No
       ❑
       ❑ Yes. Name the insurance company                                   Company name:                                                             Beneficiary:                           Surrender or refund value:
                    of each policy and list its value....

 32.   Any interest in property that is due you from someone who has died
       If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property
       because someone has died.
       ✔ No
       ❑
       ❑ Yes. Give specific information..........



 33.   Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
       Examples:         Accidents, employment disputes, insurance claims, or rights to sue
       ✔ No
       ❑
       ❑ Yes. Describe each claim................


 34.   Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
       to set off claims

       ✔ No
       ❑
       ❑ Yes. Describe each claim................


 35.   Any financial assets you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific information..........


 36.   Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
       for Part 4. Write that number here..................................................................................................................................➜                               $6,632.76




Official Form 106A/B                                                                                       Schedule A/B: Property                                                                          page 6

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                           First Name                      Middle Name                       Last Name




 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 37.   Do you own or have any legal or equitable interest in any business-related property?
       ❑No. Go to Part 6.
       ✔Yes. Go to line 38.
       ❑
                                                                                                                                                                                          Current value of the
                                                                                                                                                                                          portion you own?
                                                                                                                                                                                          Do not deduct secured
                                                                                                                                                                                          claims or exemptions.

 38.   Accounts receivable or commissions you already earned

       ✔ No
       ❑
       ❑ Yes. Describe........

 39.   Office equipment, furnishings, and supplies
       Examples:         Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

       ✔ No
       ❑
       ❑ Yes. Describe........

 40.   Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

       ❑ No
       ✔ Yes. Describe........
       ❑
                                                Auto Painting Tools
                                                                                                                                                                                                      $6,000.00


 41.   Inventory

       ✔ No
       ❑
       ❑ Yes. Describe........

 42.   Interests in partnerships or joint ventures

       ✔ No
       ❑
       ❑ Yes. Describe........
 43.   Customer lists, mailing lists, or other compilations
       ✔ No
       ❑
       ❑ Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
               ✔ No
               ❑
               ❑ Yes. Describe........

 44.   Any business-related property you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific
            information.........

 45.   Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
       for Part 5. Write that number here.................................................................................................................................➜                           $6,000.00



 Part 6: Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
         If you own or have an interest in farmland, list it in Part 1.




Official Form 106A/B                                                                                       Schedule A/B: Property                                                                    page 7

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                           First Name                      Middle Name                       Last Name



 46.   Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
       ✔No. Go to Part 7.
       ❑
       ❑Yes. Go to line 47.
                                                                                                                                                                                          Current value of the
                                                                                                                                                                                          portion you own?
                                                                                                                                                                                          Do not deduct secured
                                                                                                                                                                                          claims or exemptions.

 47.   Farm animals
       Examples:         Livestock, poultry, farm-raised fish
       ✔ No
       ❑
       ❑ Yes.........................

 48.   Crops—either growing or harvested

       ✔ No
       ❑
       ❑ Yes. Give specific
            information.............


 49.   Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

       ✔ No
       ❑
       ❑ Yes..........................


 50.   Farm and fishing supplies, chemicals, and feed

       ✔ No
       ❑
       ❑ Yes..........................


 51.   Any farm- and commercial fishing-related property you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific
            information.............



 52.   Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
       for Part 6. Write that number here...................................................................................................................................➜                             $0.00



 Part 7: Describe All Property You Own or Have an Interest in That You Did Not List Above


 53.   Do you have other property of any kind you did not already list?
       Examples:         Season tickets, country club membership
       ✔ No
       ❑
       ❑ Yes. Give specific
            information.............




 54.   Add the dollar value of all of your entries from Part 7. Write that number here.....................................................➜                                                              $0.00



 Part 8: List the Totals of Each Part of this Form



Official Form 106A/B                                                                                       Schedule A/B: Property                                                                    page 8

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                            First Name                       Middle Name                          Last Name



 55.   Part 1: Total real estate, line 2..........................................................................................................................................➜                          $260,000.00


 56.   Part 2: Total vehicles, line 5                                                                                          $1,500.00


 57.   Part 3: Total personal and household items, line 15                                                                     $3,250.00


 58.   Part 4: Total financial assets, line 36                                                                                 $6,632.76


 59.   Part 5: Total business-related property, line 45                                                                        $6,000.00


 60.   Part 6: Total farm- and fishing-related property, line 52                                                                     $0.00


 61.   Part 7: Total other property not listed, line 54                                                +                             $0.00


 62.   Total personal property. Add lines 56 through 61..............                                                        $17,382.76             Copy personal property total➜         +                $17,382.76




 63.   Total of all property on Schedule A/B. Add line 55 + line 62.................................................................................................                                         $277,382.76




Official Form 106A/B                                                                                            Schedule A/B: Property                                                                         page 9

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                                                      SCHEDULE A/B: PROPERTY
                                                               Continuation Page

 6. Household goods and furnishings
     Couch, love seat, TV stereo, computer, DVD player, dining room table and chairs, beds, dressers, end tables and                       $1,800.00
     various items and goods of low value
     Books, pictures and knick knacks                                                                                                       $500.00




Official Form 106A/B                                                   Schedule A/B: Property
                Case 18-43493-BDL               Doc 12        Filed 11/02/18          Ent. 11/02/18 20:13:30              Pg. 10 of 52
 Fill in this information to identify your case:

  Debtor 1                    Johnathon            Page                Flattum
                              First Name           Middle Name         Last Name

  Debtor 2
  (Spouse, if filing)         First Name           Middle Name         Last Name

  United States Bankruptcy Court for the:                     Western District of Washington

  Case number                           18-43493                                                                                       ❑ Check if this is an
  (if known)                                                                                                                               amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                      04/16
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill out and
attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a specific dollar amount as
exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any applicable statutory limit. Some
exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement funds—may be unlimited in dollar amount. However, if you
claim an exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the property is determined to
exceed that amount, your exemption would be limited to the applicable statutory amount.


 Part 1: Identify the Property You Claim as Exempt

      Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
 1.
      ❑ You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
      ✔ You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)
      ❑
 2.   For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

 Brief description of the property and line on               Current value of the        Amount of the exemption you claim         Specific laws that allow exemption
 Schedule A/B that lists this property                       portion you own
                                                             Copy the value from         Check only one box for each exemption.
                                                             Schedule A/B

                                                                                         ✔
 Brief description:
 6619 S Junette St. Tacoma, WA 98409                                     $260,000.00
                                                                                         ❑                $0.00                   11 U.S.C. § 522(d)(1)
                                                                                         ❑ 100% of fair market value, up to
 Line from                                                                                    any applicable statutory limit
 Schedule A/B:          1.1


                                                                                         ✔
 Brief description:
 2000 Dodge Caravan                                                         $1,500.00
                                                                                         ❑              $1,500.00                 11 U.S.C. § 522(d)(2)
                                                                                         ❑ 100% of fair market value, up to
 Line from                                                                                    any applicable statutory limit
 Schedule A/B:          3.1


 3.   Are you claiming a homestead exemption of more than $160,375?
      (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
      ✔ No
      ❑
      ❑ Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
         ❑ No
         ❑ Yes




Official Form 106C                                               Schedule C: The Property You Claim as Exempt                                                  page 1 of 3




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 Debtor 1             Johnathon           Page                  Flattum                                          Case number (if known) 18-43493
                      First Name          Middle Name            Last Name


 Part 2: Additional Page

 Brief description of the property and line on          Current value of the     Amount of the exemption you claim            Specific laws that allow exemption
 Schedule A/B that lists this property                  portion you own
                                                        Copy the value from      Check only one box for each exemption.
                                                        Schedule A/B

                                                                                 ✔
 Brief description:
 Couch, love seat, TV stereo, computer, DVD player,                  $1,800.00
                                                                                 ❑              $1,800.00                    11 U.S.C. § 522(d)(3)

 dining room table and chairs, beds, dressers, end                               ❑ 100% of fair market value, up to
 tables and various items and goods of low value                                     any applicable statutory limit

 Line from
 Schedule A/B:         6


                                                                                 ✔
 Brief description:
 Books, pictures and knick knacks                                      $500.00
                                                                                 ❑               $500.00                     11 U.S.C. § 522(d)(3)
                                                                                 ❑ 100% of fair market value, up to
 Line from                                                                           any applicable statutory limit
 Schedule A/B:         6


                                                                                 ✔
 Brief description:
 TV, Cell Phone, Amazon Fire Stick (tv device)                         $600.00
                                                                                 ❑               $600.00                     11 U.S.C. § 522(d)(3)
                                                                                 ❑ 100% of fair market value, up to
 Line from                                                                           any applicable statutory limit
 Schedule A/B:         7


                                                                                 ✔
 Brief description:
 Ping Pong Table, Weight Bench, Weights                                $150.00
                                                                                 ❑               $150.00                     11 U.S.C. § 522(d)(3)
                                                                                 ❑ 100% of fair market value, up to
 Line from                                                                           any applicable statutory limit
 Schedule A/B:         9


                                                                                 ✔
 Brief description:
 used men's clothing                                                   $200.00
                                                                                 ❑               $200.00                     11 U.S.C. § 522(d)(3)
                                                                                 ❑ 100% of fair market value, up to
 Line from                                                                           any applicable statutory limit
 Schedule A/B:         11


                                                                                 ✔
 Brief description:
 Cash                                                                $1,000.00
                                                                                 ❑              $1,000.00                    11 U.S.C. § 522(d)(5)
                                                                                 ❑ 100% of fair market value, up to
 Line from                                                                           any applicable statutory limit
 Schedule A/B:         16


                                                                                 ✔
 Brief description:
 Wells Fargo account no 0887                                           $387.89
                                                                                 ❑               $387.89                     11 U.S.C. § 522(d)(5)

 Checking account                                                                ❑ 100% of fair market value, up to
                                                                                     any applicable statutory limit
 Line from
 Schedule A/B:         17


                                                                                 ✔
 Brief description:
 Wells Fargo account 7211                                            $5,244.87
                                                                                 ❑              $5,244.87                    11 U.S.C. § 522(d)(5)

 Savings account                                                                 ❑ 100% of fair market value, up to
                                                                                     any applicable statutory limit
 Line from
 Schedule A/B:         17




Official Form 106C                                        Schedule C: The Property You Claim as Exempt                                                   page 2 of 3




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 Debtor 1              Johnathon         Page                   Flattum                                          Case number (if known) 18-43493
                       First Name         Middle Name            Last Name


 Part 2: Additional Page

 Brief description of the property and line on          Current value of the     Amount of the exemption you claim            Specific laws that allow exemption
 Schedule A/B that lists this property                  portion you own
                                                        Copy the value from      Check only one box for each exemption.
                                                        Schedule A/B

                                                                                 ✔
 Brief description:
 Auto Painting Tools                                                 $6,000.00
                                                                                 ❑              $2,375.00                    11 U.S.C. § 522(d)(6)
                                                                                 ❑ 100% of fair market value, up to
 Line from                                                                           any applicable statutory limit
 Schedule A/B:         40.1
                                                                                 ✔
                                                                                 ❑              $3,625.00                    11 U.S.C. § 522(d)(5)
                                                                                 ❑ 100% of fair market value, up to
                                                                                     any applicable statutory limit




Official Form 106C                                        Schedule C: The Property You Claim as Exempt                                                   page 3 of 3




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 Fill in this information to identify your case:

  Debtor 1                       Johnathon           Page                  Flattum
                                 First Name          Middle Name          Last Name

  Debtor 2
  (Spouse, if filing)            First Name          Middle Name          Last Name

  United States Bankruptcy Court for the:                        Western District of Washington

  Case number                             18-43493                                                                                           ❑ Check if this is an
  (if known)                                                                                                                                     amended filing


Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case number (if
known).
1. Do any creditors have claims secured by your property?
   ❑No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
   ✔Yes. Fill in all of the information below.
   ❑
 Part 1: List All Secured Claims

 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately for each     Column A                Column B             Column C
    claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As much as possible, Amount of claim         Value of             Unsecured
    list the claims in alphabetical order according to the creditor’s name.                                           Do not deduct the       collateral that      portion
                                                                                                                      value of collateral.    supports this        If any
                                                                                                                                              claim
2.1 Seterus                                                 Describe the property that secures the claim:                       $289,572.47         $260,000.00       $29,572.47
     Creditor's Name
                                                             6619 S Junette St. Tacoma, WA 98409
      PO Box 1077

                                                            As of the date you file, the claim is: Check all that apply.
     Number             Street
      Hartford, CT 06143
                                                            ❑Contigent
     City                             State   ZIP Code      ❑Unlquidated
     Who owes the debt? Check one.                          ❑Disputed
     ✔ Debtor 1 only
     ❑                                                      Nature of lien. Check all that apply.
     ❑Debtor 2 only                                         ✔An agreement you made (such as mortgage or
                                                            ❑
     ❑Debtor 1 and Debtor 2 only                               secured car loan)
     ❑At least one of the debtors and another               ❑Statutory lien (such as tax lien, mechanic's lien)
     ❑Check if this claim relates to a                      ❑Judgment lien from a lawsuit
         community debt                                     ❑Other (including a right to offset)
     Date debt was incurred
                                                            Last 4 digits of account number 0         7    4    1

      Add the dollar value of your entries in Column A on this page. Write that number here:                                  $289,572.47




Official Form 106D                                          Schedule D: Creditors Who Have Claims Secured by Property                                             page 1 of 3

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 Debtor 1                Johnathon             Page                   Flattum                                             Case number (if known) 18-43493
                         First Name            Middle Name             Last Name


                                                                                                                        Column A               Column B              Column C
                Additional Page                                                                                         Amount of claim        Value of              Unsecured
  Part 1:
                After listing any entries on this page, number them beginning                                           Do not deduct the      collateral that       portion
                with 2.3, followed by 2.4, and so forth.                                                                value of collateral.   supports this         If any
                                                                                                                                               claim



 2.2                                                     Describe the property that secures the claim:
       Creditor's Name


       Number        Street
                                                         As of the date you file, the claim is: Check all that apply.

       City                           State   ZIP Code   ❑Contigent
       Who owes the debt? Check one.                     ❑Unlquidated
       ❑Debtor 1 only                                    ❑Disputed
       ❑Debtor 2 only                                    Nature of lien. Check all that apply.
       ❑Debtor 1 and Debtor 2 only                       ❑An agreement you made (such as mortgage or
       ❑At least one of the debtors and another              secured car loan)

       ❑Check if this claim relates to a                 ❑Statutory lien (such as tax lien, mechanic's lien)
          community debt                                 ❑Judgment lien from a lawsuit
       Date debt was incurred                            ❑Other (including a right to offset)
                                                         Last 4 digits of account number


       Add the dollar value of your entries in Column A on this page. Write that number here:                                          $0.00
       If this is the last page of your form, add the dollar value totals from all pages. Write that number                    $289,572.47
       here:




Official Form 106D                              Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                     page 2 of 3

                  Case 18-43493-BDL                      Doc 12         Filed 11/02/18              Ent. 11/02/18 20:13:30                     Pg. 15 of 52
 Debtor 1              Johnathon           Page                     Flattum                                          Case number (if known) 18-43493
                       First Name           Middle Name             Last Name



 Part 2: List Others to Be Notified for a Debt That You Already Listed

 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is trying
 to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more than one
 creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any debts in Part 1,
 do not fill out or submit this page.

    1                                                                                        On which line in Part 1 did you enter the creditor?     1
        Quality Loan Service Corporation of Washington
        Name
                                                                                             Last 4 digits of account number 2       -    S    H
        411 Ivy St
        Number         Street
        c/o Quality Loan Service Corporation

        San Diego, CA 92101-2108
        City                                                State         ZIP Code


    2                                                                                        On which line in Part 1 did you enter the creditor?     1
        Trustee Corp
        Name
                                                                                             Last 4 digits of account number
        1700 7th Ave Ste 2100
        Number         Street



        Seattle, WA 98101-1360
        City                                                State         ZIP Code


    3                                                                                        On which line in Part 1 did you enter the creditor?     1
        Trustee Corps
        Name
                                                                                             Last 4 digits of account number
        17100 Gillette Ave
        Number         Street



        Irvine, CA 92614-5603
        City                                                State         ZIP Code




Official Form 106D                               Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                      page 3 of 3

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 Fill in this information to identify your case:

  Debtor 1                   Johnathon             Page                Flattum
                             First Name            Middle Name        Last Name

  Debtor 2
  (Spouse, if filing)        First Name            Middle Name        Last Name

  United States Bankruptcy Court for the:                     Western District of Washington

  Case number                           18-43493                                                                                            ❑ Check if this is an
  (if known)                                                                                                                                     amended filing


Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                        12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in Schedule
D: Creditors Who Hold Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach
the Continuation Page to this page. On the top of any additional pages, write your name and case number (if known).

 Part 1: List All of Your PRIORITY Unsecured Claims

  1. Do any creditors have priority unsecured claims against you?
     ❑ No. Go to Part 2.
     ✔ Yes.
     ❑
  2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
     identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
     possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
     Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
     (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                  Total       Priority         Nonpriority
                                                                                                                                  claim       amount           amount

2.1      Gray's Harbor District Court                               Last 4 digits of account number 8157                              $406.00       unknown           $406.00
        Priority Creditor's Name
                                                                    When was the debt incurred?
         2109 Sumner Ave 201
                                                                    As of the date you file, the claim is: Check all that
        Number           Street
                                                                    apply.
         Aberdeen, WA 98520                                         ❑ Contingent
        City                               State   ZIP Code
                                                                    ❑ Unliquidated
        Who incurred the debt? Check one.                           ❑ Disputed
        ✔ Debtor 1 only
        ❑
        ❑ Debtor 2 only                                             Type of PRIORITY unsecured claim:
                                                                    ❑ Domestic support obligations
        ❑ Debtor 1 and Debtor 2 only                                ❑ Taxes and certain other debts you owe the
        ❑ At least one of the debtors and another                       government
        ❑ Check if this claim is for a community debt               ❑ Claims for death or personal injury while you were
        Is the claim subject to offset?                                 intoxicated
        ✔ No
        ❑                                                           ✔ Other. Specify
                                                                    ❑
        ❑ Yes                                                           Restitution Claim

        Remarks: Ticket No. C00772576 Grays Harbor District
        Court - Pierce County




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                    page 1 of 13

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 Debtor 1              Johnathon          Page                    Flattum                                               Case number (if known) 18-43493
                       First Name         Middle Name             Last Name



 Part 1: Your PRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth.                       Total      Priority           Nonpriority
                                                                                                                               claim      amount             amount

2.2     Internal Revenue Service Centralized Insolvency                                                                          unknown         $4,000.00        unknown
                                                                Last 4 digits of account number
        Operation
       Priority Creditor's Name                                  When was the debt incurred?
        P. O. Box 7346                                          As of the date you file, the claim is: Check all that
       Number           Street                                  apply.
        Philadelphia, PA 19101                                  ❑ Contingent
       City                           State      ZIP Code       ❑ Unliquidated
       Who incurred the debt? Check one.                        ❑ Disputed
       ❑ Debtor 1 only                                          Type of PRIORITY unsecured claim:
       ❑ Debtor 2 only                                          ❑ Domestic support obligations
       ❑ Debtor 1 and Debtor 2 only                             ✔ Taxes and certain other debts you owe the
                                                                ❑
       ❑ At least one of the debtors and another                    government
       ❑ Check if this claim is for a community debt            ❑ Claims for death or personal injury while you were
                                                                    intoxicated
                                                                ❑ Other. Specify
       Is the claim subject to offset?
       ✔ No
       ❑
       ❑ Yes
        Remarks: Notice Only




Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                    page 2 of 13

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 Debtor 1              Johnathon             Page                      Flattum                                             Case number (if known) 18-43493
                       First Name             Middle Name               Last Name

 Part 2: List All of Your NONPRIORITY Unsecured Claims

  3. Do any creditors have nonpriority unsecured claims against you?
      ❑ No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      ✔ Yes.
      ❑
  4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
     unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
     than one creditor holds a particular claim, list the other creditors in Part 3. If you have more than three nonpriority unsecured claims fill out the Continuation Page of
     Part 2.
                                                                                                                                                             Total claim

4.1     Alliance One, Inc.                                                        Last 4 digits of account number 3122                                                     $120.00
        Nonpriority Creditor's Name
                                                                                 When was the debt incurred?
        6565 Kimball Dr. Suite 200
                                                                                 As of the date you file, the claim is: Check all that apply.
        Number          Street
        Gig Harbor, WA 98335
                                                                                 ❑ Contingent
        City                             State      ZIP Code                     ❑ Unliquidated
        Who incurred the debt? Check one.
                                                                                 ❑ Disputed
        ✔ Debtor 1 only
        ❑                                                                         Type of NONPRIORITY unsecured claim:
        ❑ Debtor 2 only                                                           ❑ Student loans
        ❑ Debtor 1 and Debtor 2 only                                              ❑ Obligations arising out of a separation agreement or
                                                                                      divorce that you did not report as priority claims
        ❑ At least one of the debtors and another                                 ❑ Debts to pension or profit-sharing plans, and other
        ❑ Check if this claim is for a community debt                                 similar debts
        Is the claim subject to offset?                                           ✔ Other. Specify
                                                                                  ❑
        ✔ No
        ❑                                                                             Collection Lakewood Municipal
        ❑ Yes
4.2     Alliance One, Inc.                                                        Last 4 digits of account number 9498                                                     $112.00
        Nonpriority Creditor's Name
                                                                                 When was the debt incurred?
        6565 Kimball Dr. Suite 200
                                                                                 As of the date you file, the claim is: Check all that apply.
        Number          Street
        Gig Harbor, WA 98335
                                                                                 ❑ Contingent
        City                             State      ZIP Code                     ❑ Unliquidated
        Who incurred the debt? Check one.
                                                                                 ❑ Disputed
        ❑ Debtor 1 only                                                           Type of NONPRIORITY unsecured claim:
        ❑ Debtor 2 only                                                           ❑ Student loans
        ❑ Debtor 1 and Debtor 2 only                                              ❑ Obligations arising out of a separation agreement or
                                                                                      divorce that you did not report as priority claims
        ❑ At least one of the debtors and another                                 ❑ Debts to pension or profit-sharing plans, and other
        ❑ Check if this claim is for a community debt                                 similar debts
        Is the claim subject to offset?                                           ✔ Other. Specify
                                                                                  ❑
        ✔ No
        ❑                                                                             Collection city of Tacoma
        ❑ Yes
4.3     Alliance One, Inc.                                                        Last 4 digits of account number 7322                                                      $78.00
        Nonpriority Creditor's Name
                                                                                 When was the debt incurred?
        6565 Kimball Dr. Suite 200
                                                                                 As of the date you file, the claim is: Check all that apply.
        Number          Street
        Gig Harbor, WA 98335
                                                                                 ❑ Contingent
        City                             State      ZIP Code                     ❑ Unliquidated
        Who incurred the debt? Check one.
                                                                                 ❑ Disputed
        ❑ Debtor 1 only                                                           Type of NONPRIORITY unsecured claim:
        ❑ Debtor 2 only                                                           ❑ Student loans
        ❑ Debtor 1 and Debtor 2 only                                              ❑ Obligations arising out of a separation agreement or
                                                                                      divorce that you did not report as priority claims
        ❑ At least one of the debtors and another                                 ❑ Debts to pension or profit-sharing plans, and other
        ❑ Check if this claim is for a community debt                                 similar debts
        Is the claim subject to offset?                                           ✔ Other. Specify
                                                                                  ❑
        ✔ No
        ❑                                                                             Collection Seattle
        ❑ Yes




Official Form 106E/F                                           Schedule E/F: Creditors Who Have Unsecured Claims                                                       page 3 of 13

                 Case 18-43493-BDL                      Doc 12          Filed 11/02/18               Ent. 11/02/18 20:13:30                     Pg. 19 of 52
 Debtor 1              Johnathon          Page                    Flattum                                            Case number (if known) 18-43493
                       First Name         Middle Name             Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                          Total claim


4.4     Americas Credit Union                                               Last 4 digits of account number 0001                                            $2,230.00
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?
        PO Box 33338
       Number           Street                                              As of the date you file, the claim is: Check all that apply.
        Ft Lewis, WA 98433                                                  ❑ Contingent
       City                           State      ZIP Code                   ❑ Unliquidated
       Who incurred the debt? Check one.                                    ❑ Disputed
       ❑ Debtor 1 only                                                      Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                      ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                         ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                                divorce that you did not report as priority claims

       ❑ Check if this claim is for a community debt                        ❑ Debts to pension or profit-sharing plans, and other
                                                                                similar debts
       Is the claim subject to offset?                                      ✔ Other. Specify
                                                                            ❑
       ✔ No
       ❑                                                                        Collection
       ❑ Yes
4.5     Assoc/Citi                                                          Last 4 digits of account number 4404                                            unknown
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?
        Po Box 6497
                                                                            As of the date you file, the claim is: Check all that apply.

       Number           Street
                                                                            ❑ Contingent
        Sioux Falls, SD 57117
                                                                            ❑ Unliquidated
       City                           State      ZIP Code                   ❑ Disputed
       Who incurred the debt? Check one.                                    Type of NONPRIORITY unsecured claim:
       ✔ Debtor 1 only
       ❑                                                                    ❑ Student loans
       ❑ Debtor 2 only                                                      ❑ Obligations arising out of a separation agreement or
                                                                                divorce that you did not report as priority claims
       ❑ Debtor 1 and Debtor 2 only
                                                                            ❑ Debts to pension or profit-sharing plans, and other
       ❑ At least one of the debtors and another                                similar debts
       ❑ Check if this claim is for a community debt                        ✔ Other. Specify
                                                                            ❑
       Is the claim subject to offset?
       ✔ No
       ❑
       ❑ Yes
4.6     Autosafe                                                                                                                                            unknown
                                                                            Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?
        PO Box 3915
       Number           Street                                              As of the date you file, the claim is: Check all that apply.
        Silverdale, WA 98383                                                ❑ Contingent
       City                           State      ZIP Code                   ❑ Unliquidated
       Who incurred the debt? Check one.                                    ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                    Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                      ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                         ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                                divorce that you did not report as priority claims

       ❑ Check if this claim is for a community debt                        ❑ Debts to pension or profit-sharing plans, and other
                                                                                similar debts
       Is the claim subject to offset?                                      ✔ Other. Specify
                                                                            ❑
       ✔ No
       ❑
       ❑ Yes




Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                   page 4 of 13
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                       First Name         Middle Name             Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                          Total claim


4.7     City of Tacoma                                                                                                                                      unknown
                                                                            Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?
        Finance Dept
                                                                            As of the date you file, the claim is: Check all that apply.
        747 Market St. 212
       Number           Street                                              ❑ Contingent
        Tacoma, WA 98402                                                    ❑ Unliquidated
       City                           State      ZIP Code                   ✔ Disputed
                                                                            ❑
       Who incurred the debt? Check one.                                    Type of NONPRIORITY unsecured claim:
       ❑ Debtor 1 only                                                      ❑ Student loans
       ❑ Debtor 2 only                                                      ❑ Obligations arising out of a separation agreement or
       ❑ Debtor 1 and Debtor 2 only                                             divorce that you did not report as priority claims

       ❑ At least one of the debtors and another                            ❑ Debts to pension or profit-sharing plans, and other
                                                                                similar debts
       ❑ Check if this claim is for a community debt                        ✔ Other. Specify
                                                                            ❑
       Is the claim subject to offset?                                          Utilities
       ✔ No
       ❑
       ❑ Yes
4.8     Credit Collection Service                                           Last 4 digits of account number 0618                                                 $598.00
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?
        PO BOX 9133
       Number           Street                                              As of the date you file, the claim is: Check all that apply.
        Needham, MA 02494-9133                                              ❑ Contingent
       City                           State      ZIP Code                   ❑ Unliquidated
       Who incurred the debt? Check one.                                    ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                    Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                      ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                         ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                                divorce that you did not report as priority claims

       ❑ Check if this claim is for a community debt                        ❑ Debts to pension or profit-sharing plans, and other
                                                                                similar debts
       Is the claim subject to offset?                                      ✔ Other. Specify
                                                                            ❑
       ✔ No
       ❑                                                                        collection American Family Ins
       ❑ Yes
4.9     FBCS                                                                Last 4 digits of account number 3343                                                 $216.00
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?
        2200 Byberry Rd. 120
       Number           Street                                              As of the date you file, the claim is: Check all that apply.
        Hatboro, PA 19040                                                   ❑ Contingent
       City                           State      ZIP Code                   ❑ Unliquidated
       Who incurred the debt? Check one.                                    ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                    Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                      ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                         ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                                divorce that you did not report as priority claims

       ❑ Check if this claim is for a community debt                        ❑ Debts to pension or profit-sharing plans, and other
                                                                                similar debts
       Is the claim subject to offset?                                      ✔ Other. Specify
                                                                            ❑
       ✔ No
       ❑                                                                        Collection Comcast
       ❑ Yes




Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                   page 5 of 13
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                       First Name         Middle Name             Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                          Total claim


4.10    Internal Revenue Service                                                                                                                            unknown
                                                                            Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?
        Po Box 7346
       Number           Street                                              As of the date you file, the claim is: Check all that apply.
        Philadelphia, PA 19101-7346                                         ❑ Contingent
       City                           State      ZIP Code                   ❑ Unliquidated
       Who incurred the debt? Check one.                                    ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                    Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                      ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                         ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                                divorce that you did not report as priority claims

       ❑ Check if this claim is for a community debt                        ❑ Debts to pension or profit-sharing plans, and other
                                                                                similar debts
       Is the claim subject to offset?                                      ✔ Other. Specify
                                                                            ❑
       ✔ No
       ❑                                                                        Notice Only
       ❑ Yes
4.11    Lakewood Municipal Court                                            Last 4 digits of account number 4403                                            unknown
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?
        6000 Main St. SW
       Number           Street                                              As of the date you file, the claim is: Check all that apply.
        Lakewood, WA 98499                                                  ❑ Contingent
       City                           State      ZIP Code                   ❑ Unliquidated
       Who incurred the debt? Check one.                                    ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                    Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                      ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                         ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                                divorce that you did not report as priority claims

       ❑ Check if this claim is for a community debt                        ❑ Debts to pension or profit-sharing plans, and other
                                                                                similar debts
       Is the claim subject to offset?                                      ✔ Other. Specify
                                                                            ❑
       ✔ No
       ❑
       ❑ Yes
4.12    Macys/DSNB                                                                                                                                               $619.99
                                                                            Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?
        Attn: Bankruptcy
                                                                            As of the date you file, the claim is: Check all that apply.
        PO Box 8053
       Number           Street                                              ❑ Contingent
        Mason, OH 45040                                                     ❑ Unliquidated
       City                           State      ZIP Code                   ❑ Disputed
       Who incurred the debt? Check one.                                    Type of NONPRIORITY unsecured claim:
       ✔ Debtor 1 only
       ❑                                                                    ❑ Student loans
       ❑ Debtor 2 only                                                      ❑ Obligations arising out of a separation agreement or
       ❑ Debtor 1 and Debtor 2 only                                             divorce that you did not report as priority claims

       ❑ At least one of the debtors and another                            ❑ Debts to pension or profit-sharing plans, and other
                                                                                similar debts
       ❑ Check if this claim is for a community debt                        ✔ Other. Specify
                                                                            ❑
       Is the claim subject to offset?                                          Credit Card
       ✔ No
       ❑
       ❑ Yes




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 Debtor 1              Johnathon          Page                    Flattum                                            Case number (if known) 18-43493
                       First Name         Middle Name             Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                          Total claim


4.13    Midland Credit Management                                                                                                                                $327.36
                                                                            Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?
        Corporation Service Company
                                                                            As of the date you file, the claim is: Check all that apply.
        300 Deschutes Way SW Suite 304
       Number           Street                                              ❑ Contingent
        Tumwater, WA 98501                                                  ❑ Unliquidated
       City                           State      ZIP Code                   ❑ Disputed
       Who incurred the debt? Check one.                                    Type of NONPRIORITY unsecured claim:
       ✔ Debtor 1 only
       ❑                                                                    ❑ Student loans
       ❑ Debtor 2 only                                                      ❑ Obligations arising out of a separation agreement or
       ❑ Debtor 1 and Debtor 2 only                                             divorce that you did not report as priority claims

       ❑ At least one of the debtors and another                            ❑ Debts to pension or profit-sharing plans, and other
                                                                                similar debts
       ❑ Check if this claim is for a community debt                        ✔ Other. Specify
                                                                            ❑
       Is the claim subject to offset?
       ✔ No
       ❑
       ❑ Yes
4.14    NCO Financial Services, Inc.                                        Last 4 digits of account number 4881                                                 $325.00
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?
        PO Box C9715
       Number           Street                                              As of the date you file, the claim is: Check all that apply.
        Federal Way, WA 98063                                               ❑ Contingent
       City                           State      ZIP Code                   ❑ Unliquidated
       Who incurred the debt? Check one.                                    ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                    Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                      ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                         ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                                divorce that you did not report as priority claims

       ❑ Check if this claim is for a community debt                        ❑ Debts to pension or profit-sharing plans, and other
                                                                                similar debts
       Is the claim subject to offset?                                      ✔ Other. Specify
                                                                            ❑
       ✔ No
       ❑                                                                        Collection Tacoma Muni Crt
       ❑ Yes
4.15    NCO Financial Services, Inc.                                        Last 4 digits of account number 7820                                                 $318.00
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?
        PO Box C9715
       Number           Street                                              As of the date you file, the claim is: Check all that apply.
        Federal Way, WA 98063                                               ❑ Contingent
       City                           State      ZIP Code                   ❑ Unliquidated
       Who incurred the debt? Check one.                                    ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                    Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                      ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                         ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                                divorce that you did not report as priority claims

       ❑ Check if this claim is for a community debt                        ❑ Debts to pension or profit-sharing plans, and other
                                                                                similar debts
       Is the claim subject to offset?                                      ✔ Other. Specify
                                                                            ❑
       ✔ No
       ❑                                                                        Collection Tac Muni Crt
       ❑ Yes




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 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                          Total claim


4.16    NCO Financial Services, Inc.                                        Last 4 digits of account number 7723                                                 $783.00
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?
        PO Box C9715
       Number           Street                                              As of the date you file, the claim is: Check all that apply.
        Federal Way, WA 98063                                               ❑ Contingent
       City                           State      ZIP Code                   ❑ Unliquidated
       Who incurred the debt? Check one.                                    ❑ Disputed
       ❑ Debtor 1 only                                                      Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                      ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                         ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                                divorce that you did not report as priority claims

       ❑ Check if this claim is for a community debt                        ❑ Debts to pension or profit-sharing plans, and other
                                                                                similar debts
       Is the claim subject to offset?                                      ✔ Other. Specify
                                                                            ❑
       ✔ No
       ❑                                                                        Collection Pierce Co District Ct
       ❑ Yes
4.17    NCO Financial Services, Inc.                                        Last 4 digits of account number 9988                                                 $238.00
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?
        PO Box C9715
       Number           Street                                              As of the date you file, the claim is: Check all that apply.
        Federal Way, WA 98063                                               ❑ Contingent
       City                           State      ZIP Code                   ❑ Unliquidated
       Who incurred the debt? Check one.                                    ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                    Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                      ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                         ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                                divorce that you did not report as priority claims

       ❑ Check if this claim is for a community debt                        ❑ Debts to pension or profit-sharing plans, and other
                                                                                similar debts
       Is the claim subject to offset?                                      ✔ Other. Specify
                                                                            ❑
       ✔ No
       ❑                                                                        Collection Tacoma Muni Ct Parking
       ❑ Yes
4.18    Oliphant Financial LLC                                                                                                                              $1,449.81
                                                                            Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?
        9009 Town Center Parkway
       Number           Street                                              As of the date you file, the claim is: Check all that apply.
        Bradenton, FL 34202                                                 ❑ Contingent
       City                           State      ZIP Code                   ❑ Unliquidated
       Who incurred the debt? Check one.                                    ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                    Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                      ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                         ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                                divorce that you did not report as priority claims

       ❑ Check if this claim is for a community debt                        ❑ Debts to pension or profit-sharing plans, and other
                                                                                similar debts
       Is the claim subject to offset?                                      ✔ Other. Specify
                                                                            ❑
       ✔ No
       ❑
       ❑ Yes




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                       First Name         Middle Name             Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                          Total claim


4.19    OLYMPIC COLLECTION INC.                                             Last 4 digits of account number 13N3                                                 $149.00
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?
        16040 CHRISTENSEN RD STE 214
       Number           Street                                              As of the date you file, the claim is: Check all that apply.
        TUKWILA, WA, WA 98188                                               ❑ Contingent
       City                           State      ZIP Code                   ❑ Unliquidated
       Who incurred the debt? Check one.                                    ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                    Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                      ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                         ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                                divorce that you did not report as priority claims

       ❑ Check if this claim is for a community debt                        ❑ Debts to pension or profit-sharing plans, and other
                                                                                similar debts
       Is the claim subject to offset?                                      ✔ Other. Specify
                                                                            ❑
       ✔ No
       ❑                                                                        Collection Fircrest Family
       ❑ Yes
4.20    Pacific Northwest Collections, Inc.                                                                                                                      $904.84
                                                                            Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?
        30640 Pacific Hwy. South
       Number           Street                                              As of the date you file, the claim is: Check all that apply.
        Federal Way, WA 98003                                               ❑ Contingent
       City                           State      ZIP Code                   ❑ Unliquidated
       Who incurred the debt? Check one.                                    ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                    Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                      ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                         ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                                divorce that you did not report as priority claims

       ❑ Check if this claim is for a community debt                        ❑ Debts to pension or profit-sharing plans, and other
                                                                                similar debts
       Is the claim subject to offset?                                      ✔ Other. Specify
                                                                            ❑
       ✔ No
       ❑                                                                        collections
       ❑ Yes




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                       First Name         Middle Name             Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                          Total claim


4.21    Pierce County District Court                                                                                                                            $624.99
                                                                            Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?
        930 Tacoma Ave S 239
       Number           Street                                              As of the date you file, the claim is: Check all that apply.
        Tacoma, WA 98402                                                    ❑ Contingent
       City                           State      ZIP Code                   ❑ Unliquidated
       Who incurred the debt? Check one.                                    ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                    Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                      ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                         ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                                divorce that you did not report as priority claims

       ❑ Check if this claim is for a community debt                        ❑ Debts to pension or profit-sharing plans, and other
                                                                                similar debts
       Is the claim subject to offset?                                      ✔ Other. Specify
                                                                            ❑
       ✔ No
       ❑
       ❑ Yes
        Remarks: Case# 1ZC00227
4.22    Pro Collect, Inc                                                    Last 4 digits of account number 8995                                                $367.00
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?          02/19/2015
        Attn: Bankruptcy
                                                                            As of the date you file, the claim is: Check all that apply.
        12170 N Abrams Road, Suite 100
       Number           Street
                                                                            ❑ Contingent
        Dallas, TX 75243
                                                                            ❑ Unliquidated
       City                           State      ZIP Code                   ❑ Disputed
       Who incurred the debt? Check one.                                    Type of NONPRIORITY unsecured claim:
       ✔ Debtor 1 only
       ❑                                                                    ❑ Student loans
       ❑ Debtor 2 only                                                      ❑ Obligations arising out of a separation agreement or
                                                                                divorce that you did not report as priority claims
       ❑ Debtor 1 and Debtor 2 only
                                                                            ❑ Debts to pension or profit-sharing plans, and other
       ❑ At least one of the debtors and another                                similar debts
       ❑ Check if this claim is for a community debt                        ✔ Other. Specify
                                                                            ❑
                                                                                UnknownLoanType
       Is the claim subject to offset?
       ✔ No
       ❑
       ❑ Yes




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 Debtor 1              Johnathon          Page                    Flattum                                            Case number (if known) 18-43493
                       First Name         Middle Name             Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                          Total claim


4.23    Puget Sound Collections                                             Last 4 digits of account number 9770                                            $1,091.00
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?          02/10/2015
        PO Box 3011
                                                                            As of the date you file, the claim is: Check all that apply.
       Number           Street
        Tacoma, WA 98401-3011
                                                                            ❑ Contingent
       City                           State      ZIP Code                   ❑ Unliquidated
       Who incurred the debt? Check one.                                    ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                    Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                      ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                         ❑ Obligations arising out of a separation agreement or
                                                                                divorce that you did not report as priority claims
       ❑ At least one of the debtors and another
                                                                            ❑ Debts to pension or profit-sharing plans, and other
       ❑ Check if this claim is for a community debt                            similar debts
       Is the claim subject to offset?                                      ✔ Other. Specify
                                                                            ❑
       ✔ No
       ❑
       ❑ Yes
4.24    PUGET SOUND COLLECTIONS                                             Last 4 digits of account number 8469                                                $100.00
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?          2010
        PO BOX 66995
                                                                            As of the date you file, the claim is: Check all that apply.
       Number           Street
        TACOMA, WA 98464-6995
                                                                            ❑ Contingent
       City                           State      ZIP Code                   ❑ Unliquidated
       Who incurred the debt? Check one.                                    ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                    Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                      ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                         ❑ Obligations arising out of a separation agreement or
                                                                                divorce that you did not report as priority claims
       ❑ At least one of the debtors and another
                                                                            ❑ Debts to pension or profit-sharing plans, and other
       ❑ Check if this claim is for a community debt                            similar debts
       Is the claim subject to offset?                                      ✔ Other. Specify
                                                                            ❑
       ✔ No
       ❑                                                                        Collection Multicare Medical

       ❑ Yes
4.25    PUGET SOUND ENERGY                                                                                                                                      $100.44
                                                                            Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?
        P.O. BOX 91269
       Number           Street                                              As of the date you file, the claim is: Check all that apply.
        BELLEVUE, WA 98009-9269                                             ❑ Contingent
       City                           State      ZIP Code                   ❑ Unliquidated
       Who incurred the debt? Check one.                                    ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                    Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                      ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                         ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                                divorce that you did not report as priority claims

       ❑ Check if this claim is for a community debt                        ❑ Debts to pension or profit-sharing plans, and other
                                                                                similar debts
       Is the claim subject to offset?                                      ✔ Other. Specify
                                                                            ❑
       ✔ No
       ❑
       ❑ Yes




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                       First Name         Middle Name             Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                          Total claim


4.26    Receivables Performance                                             Last 4 digits of account number 8962                                                 $66.00
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?
        20816 44th Ave. W
       Number           Street                                              As of the date you file, the claim is: Check all that apply.
        Lynnwood, WA 98036                                                  ❑ Contingent
       City                           State      ZIP Code                   ❑ Unliquidated
       Who incurred the debt? Check one.                                    ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                    Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                      ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                         ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                                divorce that you did not report as priority claims

       ❑ Check if this claim is for a community debt                        ❑ Debts to pension or profit-sharing plans, and other
                                                                                similar debts
       Is the claim subject to offset?                                      ✔ Other. Specify
                                                                            ❑
       ✔ No
       ❑                                                                        Collection Puget Sound Energy
       ❑ Yes
4.27    Tacoma Municipal Court                                              Last 4 digits of account number 2228                                            unknown
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?
        930 Tacoma Ave S
       Number           Street                                              As of the date you file, the claim is: Check all that apply.
        Tacoma, WA 98402                                                    ❑ Contingent
       City                           State      ZIP Code                   ❑ Unliquidated
       Who incurred the debt? Check one.                                    ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                    Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                      ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                         ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                                divorce that you did not report as priority claims

       ❑ Check if this claim is for a community debt                        ❑ Debts to pension or profit-sharing plans, and other
                                                                                similar debts
       Is the claim subject to offset?                                      ✔ Other. Specify
                                                                            ❑
       ✔ No
       ❑
       ❑ Yes
4.28    Visa Dept Store National Bank/Macy's                                Last 4 digits of account number 2261                                                $592.00
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?          10/01/1997
        Attn: Bankruptcy
                                                                            As of the date you file, the claim is: Check all that apply.
        PO Box 8053
       Number           Street
                                                                            ❑ Contingent
        Mason, OH 45040
                                                                            ❑ Unliquidated
       City                           State      ZIP Code                   ❑ Disputed
       Who incurred the debt? Check one.                                    Type of NONPRIORITY unsecured claim:
       ✔ Debtor 1 only
       ❑                                                                    ❑ Student loans
       ❑ Debtor 2 only                                                      ❑ Obligations arising out of a separation agreement or
                                                                                divorce that you did not report as priority claims
       ❑ Debtor 1 and Debtor 2 only
                                                                            ❑ Debts to pension or profit-sharing plans, and other
       ❑ At least one of the debtors and another                                similar debts
       ❑ Check if this claim is for a community debt                        ✔ Other. Specify
                                                                            ❑
                                                                                ChargeAccount
       Is the claim subject to offset?
       ✔ No
       ❑
       ❑ Yes




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                       First Name           Middle Name             Last Name

 Part 4: Add the Amounts for Each Type of Unsecured Claim

  6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
     type of unsecured claim.




                                                                                            Total claim


                   6a. Domestic support obligations                              6a.                               $0.00
 Total claims
 from Part 1       6b. Taxes and certain other debts you owe the                 6b.                               $0.00
                       government

                   6c. Claims for death or personal injury while you             6c.                               $0.00
                       were intoxicated

                   6d. Other. Add all other priority unsecured claims.           6d.   +                         $406.00
                       Write that amount here.

                   6e. Total. Add lines 6a through 6d.                           6e.                              $406.00




                                                                                            Total claim


                   6f. Student loans                                             6f.                               $0.00
 Total claims
 from Part 2       6g. Obligations arising out of a separation                   6g.                               $0.00
                       agreement or divorce that you did not report as
                       priority claims

                   6h. Debts to pension or profit-sharing plans, and             6h.                               $0.00
                       other similar debts

                   6i. Other. Add all other nonpriority unsecured claims.        6i.    +                     $11,410.43
                       Write that amount here.

                   6j. Total. Add lines 6f through 6i.                           6j.                           $11,410.43




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 Fill in this information to identify your case:

     Debtor 1                   Johnathon            Page               Flattum
                                First Name           Middle Name        Last Name

     Debtor 2
     (Spouse, if filing)        First Name           Middle Name        Last Name

     United States Bankruptcy Court for the:                     Western District of Washington

     Case number                         18-43493                                                                                            ❑ Check if this is an
     (if known)                                                                                                                                   amended filing


Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                                     12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any additional pages, write your name and case number (if
known).

 1.     Do you have any executory contracts or unexpired leases?
        ✔No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
        ❑
        ❑Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).
2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for example, rent,
       vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and unexpired leases.



       Person or company with whom you have the contract or lease                               State what the contract or lease is for

2.1

        Name

        Number         Street

        City                                 State   ZIP Code

2.2

        Name

        Number         Street

        City                                 State   ZIP Code

2.3

        Name

        Number         Street

        City                                 State   ZIP Code

2.4

        Name

        Number         Street

        City                                 State   ZIP Code

2.5

        Name

        Number         Street

        City                                 State   ZIP Code



Official Form 106G                                              Schedule G: Executory Contracts and Unexpired Leases                                                 page 1 of 1

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 Fill in this information to identify your case:

  Debtor 1                        Johnathon               Page            Flattum
                                 First Name              Middle Name      Last Name

  Debtor 2
  (Spouse, if filing)            First Name              Middle Name      Last Name

  United States Bankruptcy Court for the:                          Western District of Washington

  Case number                             18-43493                                                                                        ❑ Check if this is an
  (if known)                                                                                                                                    amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                                            12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people are filing together,
both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out, and number the entries in the boxes on
the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and case number (if known). Answer every question.

 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
      ✔ No
      ❑
      ❑Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona, California, Idaho,
    Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
      ❑No. Go to line 3.
      ✔Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
      ❑
        ✔ No
        ❑
        ❑Yes. In which community state or territory did you live?                                      . Fill in the name and current address of that person.


               Name

               Number          Street

               City                                   State   ZIP Code

 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in line 2 again as a
    codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official Form 106D), Schedule E/F (Official
    Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

      Column 1: Your codebtor                                                                               Column 2: The creditor to whom you owe the debt
                                                                                                              Check all schedules that apply:
3.1                                                                                                           ❑Schedule D, line
      Name
                                                                                                              ❑Schedule E/F, line
      Number          Street                                                                                  ❑Schedule G, line
      City                                    State     ZIP Code

Official Form 106H                                                            Schedule H: Your Codebtors                                                          page 1 of 1




                      Case 18-43493-BDL                       Doc 12      Filed 11/02/18            Ent. 11/02/18 20:13:30                 Pg. 31 of 52
 Fill in this information to identify your case:

  Debtor 1                   Johnathon             Page               Flattum
                             First Name            Middle Name       Last Name

  Debtor 2
  (Spouse, if filing)        First Name            Middle Name       Last Name                                                   Check if this is:

  United States Bankruptcy Court for the:                    Western District of Washington                                      ❑An amended filing
                                                                                                                                 ❑A supplement showing postpetition
  Case number                           18-43493                                                                                      chapter 13 income as of the following date:
  (if known)

                                                                                                                                      MM / DD / YYYY

Official Form 106I
Schedule I: Your Income                                                                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for supplying correct
information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse. If you are separated and your
spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known). Answer every question.


 Part 1: Describe Employment


 1. Fill in your employment
    information.                                                                Debtor 1                                           Debtor 2 or non-filing spouse


     If you have more than one job,            Employment status                     ✔ Not Employed
                                                                           ❑Employed ❑                                         ❑Employed ❑Not Employed
     attach a separate page with
     information about additional
     employers.
                                               Occupation
     Include part time, seasonal, or
     self-employed work.                       Employer's name

     Occupation may include student                                         Number Street                                      Number Street
                                               Employer's address
     or homemaker, if it applies.




                                                                            City                     State    Zip Code         City                    State      Zip Code

                                               How long employed there?


 Part 2: Give Details About Monthly Income


     Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse unless you
     are separated.
     If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need more space,
     attach a separate sheet to this form.

                                                                                                         For Debtor 1       For Debtor 2 or
                                                                                                                            non-filing spouse

 2. List monthly gross wages, salary, and commissions (before all payroll
    deductions.) If not paid monthly, calculate what the monthly wage would be.             2.               $3,231.80                      $0.00

 3. Estimate and list monthly overtime pay.                                                 3.   +               $0.00     +                $0.00


 4. Calculate gross income. Add line 2 + line 3.                                            4.               $3,231.80                      $0.00




Official Form 106I                                                          Schedule I: Your Income                                                                    page 1

                  Case 18-43493-BDL                    Doc 12         Filed 11/02/18             Ent. 11/02/18 20:13:30                    Pg. 32 of 52
 Debtor 1                  Johnathon                       Page                                Flattum                                         Case number (if known) 18-43493
                            First Name                      Middle Name                         Last Name


                                                                                                                                    For Debtor 1       For Debtor 2 or
                                                                                                                                                       non-filing spouse
      Copy line 4 here....................................................................................➔            4.              $3,231.80                   $0.00
 5.   List all payroll deductions:

      5a. Tax, Medicare, and Social Security deductions                                                                5a.                $0.00                    $0.00

      5b. Mandatory contributions for retirement plans                                                                 5b.                $0.00                    $0.00

      5c. Voluntary contributions for retirement plans                                                                 5c.                $0.00                    $0.00

      5d. Required repayments of retirement fund loans                                                                 5d.                $0.00                    $0.00

      5e. Insurance                                                                                                    5e.                $0.00                    $0.00

      5f. Domestic support obligations                                                                                 5f.                $0.00                    $0.00

      5g. Union dues                                                                                                   5g.                $0.00                    $0.00

                                                                                                                       5h.
                                                                                                                             +             $0.00       +           $0.00
      5h. Other deductions. Specify:
 6.   Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                      6.                 $0.00                    $0.00
 7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                                              7.              $3,231.80                   $0.00
 8.   List all other income regularly received:

      8a. Net income from rental property and from operating a business,
          profession, or farm
            Attach a statement for each property and business showing gross receipts,
            ordinary and necessary business expenses, and the total monthly net income.
                                                                                                                       8a.             $1,100.00                   $0.00
      8b. Interest and dividends
                                                                                                                       8b.                $0.00                    $0.00
      8c. Family support payments that you, a non-filing spouse, or a dependent
          regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                                                       8c.                $0.00                    $0.00
      8d. Unemployment compensation                                                                                    8d.                $0.00                    $0.00
      8e. Social Security                                                                                              8e.                $0.00                    $0.00
      8f. Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
                                                                                                                       8f.                $0.00                    $0.00
            Specify:
                                                                                                                       8g.                $0.00                    $0.00
      8g. Pension or retirement income
      8h. Other monthly income. Specify:                                                                               8h.   +             $0.00       +           $0.00



 9.   Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                            9.              $1,100.00                    $0.00

 10. Calculate monthly income. Add line 7 + line 9.
     Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse                                         10.             $4,331.80   +                $0.00        =       $4,331.80

 11. State all other regular contributions to the expenses that you list in Schedule J.
      Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
      friends or relatives.
      Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

      Specify:                                                                                                                                                         11. +              $0.00
 12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income. Write that
     amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                                               12.          $4,331.80
                                                                                                                                                                                 Combined
                                                                                                                                                                                 monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
      ✔ No.
      ❑
      ❑Yes. Explain:


Official Form 106I                                                                                        Schedule I: Your Income                                                          page 2

                     Case 18-43493-BDL                                    Doc 12                 Filed 11/02/18              Ent. 11/02/18 20:13:30             Pg. 33 of 52
 Fill in this information to identify your case:

  Debtor 1                   Johnathon                Page                   Flattum
                             First Name              Middle Name            Last Name                               Check if this is:
  Debtor 2                                                                                                          ❑An amended filing
  (Spouse, if filing)        First Name              Middle Name            Last Name                               ❑A supplement showing postpetition
                                                                                                                        chapter 13 income as of the following date:
  United States Bankruptcy Court for the:                          Western District of Washington

  Case number                           18-43493                                                                        MM / DD / YYYY
  (if known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, attach another sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 Part 1: Describe Your Household

 1. Is this a joint case?

     ✔No. Go to line 2.
     ❑
     ❑Yes. Does Debtor 2 live in a separate household?
            ❑No
            ❑Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
 2. Do you have dependents?                        ✔ No
                                                   ❑
     Do not list Debtor 1 and
     Debtor 2.
                                                   ❑Yes. Fill out this information for    Dependent's relationship to
                                                                                          Debtor 1 or Debtor 2
                                                                                                                               Dependent's
                                                                                                                               age
                                                                                                                                                   Does dependent live
                                                                                                                                                   with you?
                                                      each dependent...............
     Do not state the dependents' names.                                                                                                           ❑No
                                                                                                                                                   ❑Yes
                                                                                                                                                   ❑No
                                                                                                                                                   ❑Yes
                                                                                                                                                   ❑No
                                                                                                                                                   ❑Yes
                                                                                                                                                   ❑No
                                                                                                                                                   ❑Yes
                                                                                                                                                   ❑No
                                                                                                                                                   ❑Yes
 3. Do your expenses include expenses              ✔ No
                                                   ❑
    of people other than yourself and
    your dependents?
                                                   ❑Yes


 Part 2: Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report expenses as of a date after
 the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the applicable date.

 Include expenses paid for with non-cash government assistance if you know the value of                                                     Your expenses
 such assistance and have included it on Schedule I: Your Income (Official Form 106I.)

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and any rent for the
    ground or lot.                                                                                                                 4.


     If not included in line 4:
                                                                                                                                   4a.                         $0.00
     4a. Real estate taxes
                                                                                                                                   4b.                         $0.00
     4b. Property, homeowner's, or renter's insurance
                                                                                                                                   4c.                         $0.00
     4c. Home maintenance, repair, and upkeep expenses
                                                                                                                                   4d.
     4d. Homeowner's association or condominium dues                                                                                                           $0.00




Official Form 106J                                                                     Schedule J: Your Expenses                                                         page 1

                  Case 18-43493-BDL                        Doc 12            Filed 11/02/18           Ent. 11/02/18 20:13:30                 Pg. 34 of 52
 Debtor 1              Johnathon              Page                     Flattum                               Case number (if known) 18-43493
                       First Name             Middle Name               Last Name


                                                                                                                             Your expenses

 5.    Additional mortgage payments for your residence, such as home equity loans                                  5.

 6.    Utilities:

       6a. Electricity, heat, natural gas                                                                          6a.                         $215.00

       6b. Water, sewer, garbage collection                                                                        6b.                          $65.00

       6c. Telephone, cell phone, Internet, satellite, and cable services                                          6c.                           $0.00

       6d. Other. Specify:                                                                                         6d.                           $0.00

 7.    Food and housekeeping supplies                                                                              7.                          $400.00

 8.    Childcare and children’s education costs                                                                    8.                            $0.00

 9.    Clothing, laundry, and dry cleaning                                                                         9.                           $45.00

 10. Personal care products and services                                                                           10.                          $75.00

 11.   Medical and dental expenses                                                                                 11.                          $50.00

 12. Transportation. Include gas, maintenance, bus or train fare.
     Do not include car payments.                                                                                  12.                          $75.00

 13. Entertainment, clubs, recreation, newspapers, magazines, and books                                            13.                          $75.00

 14. Charitable contributions and religious donations                                                              14.                           $0.00

 15. Insurance.
       Do not include insurance deducted from your pay or included in lines 4 or 20.

                                                                                                                   15a.                          $0.00
       15a. Life insurance
                                                                                                                   15b.                          $0.00
       15b. Health insurance
                                                                                                                   15c.                        $120.00
       15c. Vehicle insurance
                                                                                                                   15d.                          $0.00
       15d. Other insurance. Specify:

 16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
       Specify: Federal Withholding/ Soc Sec/Medicare                                                              16.                         $802.08

 17. Installment or lease payments:

       17a. Car payments for Vehicle 1                                                                             17a.

       17b. Car payments for Vehicle 2                                                                             17b.

       17c. Other. Specify:                                                                                        17c.

       17d. Other. Specify:                                                                                        17d.

 18. Your payments of alimony, maintenance, and support that you did not report as deducted
     from your pay on line 5, Schedule I, Your Income (Official Form 106I).                                        18.                           $0.00

 19. Other payments you make to support others who do not live with you.
       Specify:                                                                                                    19.                           $0.00

 20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

       20a. Mortgages on other property                                                                            20a.                          $0.00

       20b. Real estate taxes                                                                                      20b.                          $0.00

       20c. Property, homeowner’s, or renter’s insurance                                                           20c.                          $0.00
       20d. Maintenance, repair, and upkeep expenses                                                               20d.                          $0.00
       20e. Homeowner’s association or condominium dues                                                            20e.                          $0.00

Official Form 106J                                                               Schedule J: Your Expenses                                               page 2

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 Debtor 1              Johnathon            Page                    Flattum                                 Case number (if known) 18-43493
                       First Name           Middle Name              Last Name



 21. Other. Specify:                                                                                              21.     +                   $0.00

 22. Calculate your monthly expenses.

      22a. Add lines 4 through 21.                                                                                22a.                   $1,922.08

      22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                        22b.                        $0.00

      22c. Add line 22a and 22b. The result is your monthly expenses.                                             22c.                   $1,922.08


 23. Calculate your monthly net income.

      23a. Copy line 12 (your combined monthly income) from Schedule I.                                           23a.                   $4,331.80

      23b. Copy your monthly expenses from line 22c above.                                                        23b.    –               $1,922.08

      23c. Subtract your monthly expenses from your monthly income.
                                                                                                                  23c.                   $2,409.72
            The result is your monthly net income.



 24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      ✔ No.
      ❑              None
      ❑Yes.




Official Form 106J                                                             Schedule J: Your Expenses                                              page 3

                Case 18-43493-BDL                     Doc 12          Filed 11/02/18          Ent. 11/02/18 20:13:30          Pg. 36 of 52
 Fill in this information to identify your case:

  Debtor 1                         Johnathon                     Page                        Flattum
                                  First Name                    Middle Name                 Last Name

  Debtor 2
  (Spouse, if filing)             First Name                    Middle Name                 Last Name

  United States Bankruptcy Court for the:                                        Western District of Washington

  Case number                                   18-43493                                                                                                                            ❑ Check if this is an
  (if known)                                                                                                                                                                               amended filing


Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical
Information                                                                                                                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Fill out all of your
schedules first; then complete the information on this form. If you are filing amended schedules after you file your original forms, you must fill out a new Summary
and check the box at the top of this page.


 Part 1: Summarize Your Assets


                                                                                                                                                                                            Your assets
                                                                                                                                                                                            Value of what you own

 1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B...........................................................................................................                                       $260,000.00


    1b. Copy line 62, Total personal property, from Schedule A/B................................................................................................                                               $17,382.76


    1c. Copy line 63, Total of all property on Schedule A/B...........................................................................................................                                      $277,382.76



 Part 2: Summarize Your Liabilities



                                                                                                                                                                                            Your liabilities
                                                                                                                                                                                            Amount you owe

 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.......                                                                               $289,572.47

 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                                                                 $406.00
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F......................................

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F.................................                                                       +                 $11,410.43


                                                                                                                                                                  Your total liabilities                    $301,388.90

 Part 3: Summarize Your Income and Expenses

 4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I..........................................................................................                                                      $4,331.80


 5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J..................................................................................                                                                    $1,922.08




Official Form 106Sum                                                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                               page 1 of 2

                     Case 18-43493-BDL                                  Doc 12               Filed 11/02/18                       Ent. 11/02/18 20:13:30                            Pg. 37 of 52
 Debtor 1             Johnathon             Page                      Flattum                                              Case number (if known) 18-43493
                      First Name             Middle Name              Last Name



 Part 4: Answer These Questions for Administrative and Statistical Records



6. Are you filing for bankruptcy under Chapters 7, 11, or 13?
   ❑ No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
   ✔ Yes
   ❑

7. What kind of debt do you have?
   ✔ Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
   ❑
       family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

   ❑ Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
       this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
   Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                                      $4,164.07




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:


                                                                                                                      Total claim

      From Part 4 on Schedule E/F, copy the following:


     9a. Domestic support obligations (Copy line 6a.)                                                                                    $0.00



     9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                                           $0.00



     9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                                                 $0.00



     9d. Student loans. (Copy line 6f.)                                                                                                  $0.00



     9e.Obligations arising out of a separation agreement or divorce that you did not report as priority                                 $0.00
        claims. (Copy line 6g.)



     9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)                       +                     $0.00



     9g. Total. Add lines 9a through 9f.                                                                                                $0.00




Official Form 106Sum                                    Summary of Your Assets and Liabilities and Certain Statistical Information                              page 2 of 2
                 Case 18-43493-BDL                      Doc 12         Filed 11/02/18             Ent. 11/02/18 20:13:30                    Pg. 38 of 52
 Fill in this information to identify your case:

  Debtor 1                   Johnathon             Page             Flattum
                             First Name            Middle Name      Last Name

  Debtor 2
  (Spouse, if filing)        First Name            Middle Name      Last Name

  United States Bankruptcy Court for the:                    Western District of Washington

  Case number                           18-43493                                                                                      ❑ Check if this is an
  (if known)                                                                                                                               amended filing


Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                               12/15
If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Sign Below



   Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

   ✔ No
   ❑
   ❑Yes. Name of person                                                             . Attach Bankruptcy Petition Preparer's Notice, Declaration, and Signature
                                                                                      (Official Form 119).




   Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaraion and that they are true and correct.




   ✘ /s/ Johnathon Page Flattum
        Johnathon Page Flattum, Debtor 1, Debtor 1                     ✘
        Date 11/02/2018                                                    Date
                MM/ DD/ YYYY                                                      MM/ DD/ YYYY




Official Form 106Dec                                         Declaration About an Individual Debtor's Schedules

                  Case 18-43493-BDL                    Doc 12       Filed 11/02/18            Ent. 11/02/18 20:13:30                  Pg. 39 of 52
 Fill in this information to identify your case:

  Debtor 1                   Johnathon             Page                Flattum
                             First Name            Middle Name        Last Name

  Debtor 2
  (Spouse, if filing)        First Name            Middle Name        Last Name

  United States Bankruptcy Court for the:                     Western District of Washington

  Case number                           18-43493                                                                                      ❑ Check if this is an
  (if known)                                                                                                                              amended filing


Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                            04/16
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.




 Part 1: Give Details About Your Marital Status and Where You Lived Before


  1. What is your current marital status?

    ❑ Married
    ✔ Not married
    ❑
  2. During the last 3 years, have you lived anywhere other than where you live now?

    ✔ No
    ❑
    ❑ Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
      Debtor 1:                                               Dates Debtor 1 lived       Debtor 2:                                          Dates Debtor 2 lived
                                                              there                                                                         there


                                                                                       ❑ Same as Debtor 1                                  ❑ Same as Debtor 1
                                                            From                                                                           From
    Number      Street                                                                     Number      Street
                                                            To                                                                             To



    City                               State ZIP Code                                      City                      State ZIP Code




                                                                                       ❑ Same as Debtor 1                                  ❑ Same as Debtor 1
                                                            From                                                                           From
    Number      Street                                                                     Number      Street
                                                            To                                                                             To



    City                               State ZIP Code                                      City                      State ZIP Code




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 1




                  Case 18-43493-BDL                     Doc 12         Filed 11/02/18                 Ent. 11/02/18 20:13:30          Pg. 40 of 52
Debtor 1            Johnathon            Page                     Flattum                                             Case number (if known) 18-43493
                    First Name           Middle Name              Last Name



  3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?(Community property states and territories
  include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

    ✔ No
    ❑
    ❑ Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2: Explain the Sources of Your Income


  4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
  Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
  If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                    Debtor 1                                                    Debtor 2

                                                    Sources of income             Gross Income                  Sources of income             Gross Income
                                                    Check all that apply.         (before deductions and        Check all that apply.         (before deductions and
                                                                                  exclusions)                                                 exclusions)


    From January 1 of current year until the
                                                   ✔ Wages, commissions,
                                                   ❑                                                           ❑ Wages, commissions,
                                                       bonuses, tips                         $11,977.00            bonuses, tips
    date you filed for bankruptcy:
                                                   ❑Operating a business                                       ❑Operating a business

    For last calendar year:                        ❑ Wages, commissions,                                       ❑ Wages, commissions,
    (January 1 to December 31, 2017         )          bonuses, tips                                               bonuses, tips
                                     YYYY          ❑Operating a business                                       ❑Operating a business

    For the calendar year before that:             ✔ Wages, commissions,
                                                   ❑                                                           ❑ Wages, commissions,
                                                       bonuses, tips                               $0.00           bonuses, tips
    (January 1 to December 31, 2016         )
                                     YYYY          ❑Operating a business                                       ❑Operating a business


  5. Did you receive any other income during this year or the two previous calendar years?
  Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment, and other public benefit
  payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery winnings. If you are filing a joint case and you
  have income that you received together, list it only once under Debtor 1.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                    Debtor 1                                                    Debtor 2

                                                    Sources of income             Gross income from each        Sources of income             Gross Income from each
                                                    Describe below.               source                        Describe below.               source
                                                                                  (before deductions and                                      (before deductions and
                                                                                  exclusions)                                                 exclusions)


    From January 1 of current year until the        L&I - Worker's Comp                       $12,539.20
    date you filed for bankruptcy:




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Debtor 1            Johnathon            Page                      Flattum                                                Case number (if known) 18-43493
                    First Name              Middle Name             Last Name


    For last calendar year:                           L&I -Workers Comp                          $33,560.80
    (January 1 to December 31, 2017          )
                                     YYYY




    For the calendar year before that:
    (January 1 to December 31, 2016          )
                                     YYYY




 Part 3: List Certain Payments You Made Before You Filed for Bankruptcy


  6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

    ❑No.       Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
               individual primarily for a personal, family, or household purpose.”
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?

               ❑No. Go to line 7.
               ❑Yes. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the total amount you paid that
                          creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do not include
                          payments to an attorney for this bankruptcy case.
               * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.


    ✔Yes.
    ❑          Debtor 1 or Debtor 2 or both have primarily consumer debts.
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

               ✔No. Go to line 7.
               ❑
               ❑Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not include
                          payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an attorney for
                          this bankruptcy case.

                                                             Dates of              Total amount paid            Amount you still owe       Was this payment for…
                                                             payment

                                                                                                                                          ❑Mortgage
             Creditor's Name                                                                                                              ❑Car
                                                                                                                                          ❑Credit card
             Number      Street                                                                                                           ❑Loan repayment
                                                                                                                                          ❑Suppliers or vendors
                                                                                                                                          ❑Other
             City                   State        ZIP Code




  7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
  Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations of which you are an
  officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for a business you operate as a sole
  proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and alimony.

    ✔ No
    ❑
    ❑Yes. List all payments to an insider.



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                    First Name            Middle Name                Last Name

                                                          Dates of               Total amount paid     Amount you still owe       Reason for this payment
                                                          payment



    Insider's Name


    Number       Street




    City                         State   ZIP Code




  8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an insider?
  Include payments on debts guaranteed or cosigned by an insider.

    ✔ No
    ❑
    ❑Yes. List all payments that benefited an insider.
                                                          Dates of               Total amount paid     Amount you still owe       Reason for this payment
                                                          payment                                                                 Include creditor’s name



    Insider's Name


    Number       Street




    City                         State   ZIP Code




 Part 4: Identify Legal Actions, Repossessions, and Foreclosures


  9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
  List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications, and contract
  disputes.

    ❑No
    ✔Yes. Fill in the details.
    ❑
                                                    Nature of the case                           Court or agency                                  Status of the case

                                                    Retitution Case
    Case title                                                                                  Pierce County District Court                     ❑Pending
                                                                                                                                                 ❑On appeal
                                                                                               Court Name
    Case number 1ZC00227
                                                                                                930 Tacoma Ave S 239
                                                                                               Number       Street
                                                                                                                                                 ✔Concluded
                                                                                                                                                 ❑
                                                                                                Tacoma, WA 98402
                                                                                               City                       State      ZIP Code




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                    First Name             Middle Name               Last Name

                                                      Nature of the case                        Court or agency                                  Status of the case

                                                      Traffic Violations
    Case title                                                                                 Gray's Harbor District Court                     ❑Pending
                                                                                                                                                ❑On appeal
                                                                                               Court Name
    Case number C00772576
                                                                                               2109 Sumner Ave 201
                                                                                               Number       Street
                                                                                                                                                ✔Concluded
                                                                                                                                                ❑
                                                                                               Aberdeen, WA 98520
                                                                                               City                    State       ZIP Code




  10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
  Check all that apply and fill in the details below.

    ❑No. Go to line 11.
    ✔Yes. Fill in the information below.
    ❑
                                                                      Describe the property                                   Date                Value of the property
                                                                     6619 South Junett St Tacoma, WA 98409
     Bank of America                                                                                                          Filed BK before               $260,000.00
    Creditor’s Name
                                                                                                                              foreclosure
     400 National Way Ca6-9819-01-09
    Number       Street                                               Explain what happened

                                                                     ❑Property was repossessed.
                                                                     ✔Property was foreclosed.
                                                                     ❑
     Simi Valley, CA 93065-6414                                      ❑Property was garnished.
                                                                     ❑Property was attached, seized, or levied.
    City                          State    ZIP Code




  11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your accounts or refuse
  to make a payment because you owed a debt?

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                             Describe the action the creditor took                       Date action was        Amount
                                                                                                                         taken
    Creditor’s Name


    Number       Street



    City                         State     ZIP Code
                                                           Last 4 digits of account number: XXXX–




  12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a court-appointed
  receiver, a custodian, or another official?

    ✔ No
    ❑
    ❑Yes




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                     First Name             Middle Name             Last Name
 Part 5: List Certain Gifts and Contributions


  13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

    ✔ No
    ❑
    ❑Yes. Fill in the details for each gift.
     Gifts with a total value of more than $600 per         Describe the gifts                                          Dates you gave     Value
     person                                                                                                             the gifts



    Person to Whom You Gave the Gift




    Number      Street



    City                            State   ZIP Code

    Person’s relationship to you



  14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

    ✔ No
    ❑
    ❑Yes. Fill in the details for each gift or contribution.
     Gifts or contributions to charities that      Describe what you contributed                                   Date you               Value
     total more than $600                                                                                          contributed



    Charity’s Name




    Number      Street



    City                    State    ZIP Code




 Part 6: List Certain Losses


  15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster, or gambling?

    ✔ No
    ❑
    ❑Yes. Fill in the details.




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                    First Name          Middle Name               Last Name

     Describe the property you lost and       Describe any insurance coverage for the loss                    Date of your loss     Value of property lost
     how the loss occurred                    Include the amount that insurance has paid. List pending
                                              insurance claims on line 33 of Schedule A/B: Property.




 Part 7: List Certain Payments or Transfers


  16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you consulted about
  seeking bankruptcy or preparing a bankruptcy petition?
  Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

    ❑No
    ✔Yes. Fill in the details.
    ❑
                                                Description and value of any property transferred              Date payment or      Amount of payment
     Henry & DeGraaff, PS                                                                                      transfer was made
    Person Who Was Paid                        Atty fees and filing fee
                                                                                                              08/25/2018                          $3,810.00
     150 Nickerson St Ste 311
    Number     Street




     Seattle, WA 98109
    City                   State   ZIP Code
     chenry@hdm-legal.com
    Email or website address
     Christina Henry
    Person Who Made the Payment, if Not You




  17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who promised to help you
  deal with your creditors or to make payments to your creditors?
  Do not include any payment or transfer that you listed on line 16.

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                Description and value of any property transferred              Date payment or      Amount of payment
                                                                                                               transfer was made
    Person Who Was Paid



    Number     Street




    City                   State   ZIP Code




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                    First Name          Middle Name             Last Name



  18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property transferred in the
  ordinary course of your business or financial affairs?
  Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
  Do not include gifts and transfers that you have already listed on this statement.

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                Description and value of property           Describe any property or payments received       Date transfer was
                                                transferred                                 or debts paid in exchange                        made

    Person Who Received Transfer


    Number     Street




    City                   State   ZIP Code

    Person's relationship to you




  19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a beneficiary?(These are
  often called asset-protection devices.)

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                               Description and value of the property transferred                                             Date transfer was
                                                                                                                                             made


    Name of trust




 Part 8: List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units


  20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed, sold, moved, or
  transferred?
  Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage houses, pension funds,
  cooperatives, associations, and other financial institutions.

    ✔ No
    ❑
    ❑Yes. Fill in the details.




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                    First Name           Middle Name            Last Name

                                                Last 4 digits of account number          Type of account or      Date account was            Last balance
                                                                                         instrument              closed, sold, moved, or     before closing or
                                                                                                                 transferred                 transfer

    Name of Financial Institution
                                                XXXX–                                    ❑Checking
                                                                                         ❑Savings
    Number      Street
                                                                                         ❑Money market
                                                                                         ❑Brokerage
                                                                                         ❑Other
    City                   State    ZIP Code




  21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities, cash, or other
  valuables?

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                 Who else had access to it?                     Describe the contents                        Do you still have
                                                                                                                                             it?

                                                                                                                                            ❑No
    Name of Financial Institution               Name
                                                                                                                                            ❑Yes

    Number      Street                          Number     Street



                                                City                 State    ZIP Code

    City                   State    ZIP Code



  22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                 Who else has or had access to it?              Describe the contents                        Do you still have
                                                                                                                                             it?

                                                                                                                                            ❑No
    Name of Storage Facility                    Name
                                                                                                                                            ❑Yes

    Number      Street                          Number     Street



                                                City                 State    ZIP Code

    City                   State    ZIP Code




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                    First Name            Middle Name               Last Name
 Part 9: Identify Property You Hold or Control for Someone Else


  23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust for someone.

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                    Where is the property?                              Describe the property                            Value


    Owner's Name
                                                   Number      Street


    Number     Street

                                                   City                        State   ZIP Code


    City                   State   ZIP Code




 Part 10: Give Details About Environmental Information


  For the purpose of Part 10, the following definitions apply:
      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or toxic substances, wastes,
      or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or regulations controlling the cleanup of these substances,
      wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used to own, operate, or utilize it,
      including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant,
      contaminant, or similar term.
  Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

  24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                   Governmental unit                              Environmental law, if you know it                      Date of notice


    Name of site                                  Governmental unit



    Number     Street                             Number      Street


                                                  City                 State     ZIP Code


    City                   State   ZIP Code




  25. Have you notified any governmental unit of any release of hazardous material?

    ✔ No
    ❑
    ❑Yes. Fill in the details.



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                     First Name             Middle Name               Last Name

                                                     Governmental unit                           Environmental law, if you know it                    Date of notice


    Name of site                                    Governmental unit



    Number        Street                            Number       Street


                                                    City                  State   ZIP Code


    City                     State    ZIP Code




  26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                     Court or agency                             Nature of the case                                   Status of the case


    Case title
                                                    Court Name
                                                                                                                                                    ❑Pending
                                                                                                                                                    ❑On appeal
                                                                                                                                                    ❑Concluded
                                                    Number       Street


    Case number
                                                    City                  State   ZIP Code




 Part 11: Give Details About Your Business or Connections to Any Business


  27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?

           ❑ A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
           ❑ A member of a limited liability company (LLC) or limited liability partnership (LLP)
           ❑ A partner in a partnership
           ❑ An officer, director, or managing executive of a corporation
           ❑ An owner of at least 5% of the voting or equity securities of a corporation
    ❑No. None of the above applies. Go to Part 12.
    ✔Yes. Check all that apply above and fill in the details below for each business.
    ❑
                                                      Describe the nature of the business                          Employer Identification number
     John Page Flattum                                                                                             Do not include Social Security number or ITIN.
    Name

                                                                                                                    EIN:          –
     6619 S Junett St
    Number        Street
                                                      Name of accountant or bookkeeper                             Dates business existed


     Tacoma, WA 98409-6028                                                                                          From                 To
    City                     State    ZIP Code




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                    First Name            Middle Name             Last Name



  28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial institutions, creditors,
  or other parties.

    ✔ No
    ❑
    ❑Yes. Fill in the details below.
                                                   Date issued



    Name                                         MM / DD / YYYY



    Number       Street




    City                     State   ZIP Code




 Part 12: Sign Below


  I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers are true and
  correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection with a bankruptcy case
  can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




    ✘                     /s/ Johnathon Page Flattum                    ✘
           Signature of Johnathon Page Flattum, Debtor 1                      Signature of


           Date 11/02/2018                                                    Date




  Did you attach additional pages to your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

    ✔ No
    ❑
    ❑Yes
  Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

    ✔ No
    ❑
                                                                                                        Attach the Bankruptcy Petition Preparer’s Notice,
    ❑Yes. Name of person                                                                                Declaration, and Signature (Official Form 119).




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                                                 United States Bankruptcy Court
                                                     Western District of Washington
In re
Flattum, Johnathon Page                                                                                           Case No. 18-43493
                                                                                                                  Chapter         13
Debtor(s)

                                    DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named
     debtor(s) and that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed
     to be paid to me, for services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in
     connection with the bankruptcy case is as follows:
          For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . .                       $3,810.00
          Prior to the filing of this statement I have received . . . . . . . . . . . . . . . . . .                         $3,810.00
          Balance Due . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .            $0.00

2.   The source of the compensation to be paid to me was:
          ✔ Debtor
          ❑                                         ❑ Other (specify)
3.   The source of compensation to be paid to me is:
          ✔ Debtor
          ❑                                         ❑ Other (specify)
4.   ✔ I have not agreed to share the above-disclosed compensation with any other person unless they are members and
     ❑
     associates of my law firm.

     ❑ I have agreed to share the above-disclosed compensation with another person or persons who are not members or
     associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the
     compensation, is attached.

5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case,
   including:
     a.   Analysis of the debtor' s financial situation, and rendering advice to the debtor in determining whether to file a
          petition in bankruptcy;
     b.   Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;
     c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings
          thereof;

6.   By agreement with the debtor(s), the above-disclosed fee does not include the following services:



                                                                        CERTIFICATION
                          I certify that the foregoing is a complete statement of any agreement or
                       arrangement for payment to me for representation of the debtor(s) in this bankruptcy
                       proceeding.

                       11/02/2018                                      /s/ Christina L. Henry
                       Date                                                Signature of Attorney

                                                                       Henry & DeGraaff, P.S.
                                                                          Name of law firm




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